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IN THE UNITED STATES DISTRICT coURT H‘-E'J f=-*f f D-C-
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HAROLD FREEMAN, .FS

v.‘..':'" """“ ";"1 l .
H~.a,'. L<)f' l[v` ;v\l_',~,¢;.'"‘;‘

Piaintiff,

v.
No. 04-2757 Ml/V
HOUSEHOLD LIFE INSURANCE,
COMPANY and TERRY DICKERSON,
et al.,

Defendants.

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ORDER GRANTING PLAINTIFF'S MOTION TO REMAND

 

Before the Court is Plaintiff’s Motion to Remand, filed
October l5, 2004. Defendants responded in opposition on November
l, 2004. For the following reasons, Plaintiff’s motion is GRANTED.

Plaintiff initially filed a complaint in this case on August
13, 2004, in the Chancery Court of Shelby County, Tennessee,
alleging fraud and misrepresentation with respect to his purchase
of credit insurance from Defendant Household Life Insurance
Company. On September 23, 2004, Defendants filed a notice of
removal to this Court pursuant to 28 U.S.C. § 1441 based upon the
asserted diversity of citizenship of the proper parties to this
action.

Section l44l(a) provides that “any civil action brought in a
State court of which the district courts of the United States have

original jurisdiction, may be removed by the defendant or the

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defendants, to the district court of the United States for the
district and division embracing the place where such action is
pending ...." 28 U.S.C. § l44l(a). Specifically, § l44l(a) allows
a defendant to remove an action filed in state court to a federal
district court based upon the diversity of citizenship of the
parties. See id. Here, Defendants contend that removal was proper
because the amount in controversy in this case exceeds the
jurisdictional requirement of $75,000 and because Defendant Terry
Dickerson, a Tennessee resident and whose presence as a defendant
in this case would defeat diversity,l was fraudulently joined as a
defendant. Because the Court below finds that Defendants have
failed to show that Plaintiff's Complaint meets the amount-in-
controversy reguirement, the Court does not address Defendants'
contention that Defendant Dickerson was fraudulently joined.
Plaintiff’s Complaint does not allege a specific amount of
damages. Rather, Plaintiff's Complaint alleges:
As a proximate consequence of Defendants' actions,
Plaintiff was injured and damaged in at least the
following ways: he paid money for insurance he did not
want, he lost interest on said money, he paid excessive
interest on his loans and accounts he otherwise would not
have had to pay, he lost interest on the money attributed
to the unnecessary payments, he has suffered mental

anguish and emotional distress; and has otherwise been
injured and damaged.

 

' Under 28 U.S.C. § l441(b), a defendant may remove an
action from state court to federal district court on the basis of
diversity of citizenship “only if none of the parties in interest
properly joined and served as defendants is a citizen of the
State in which such action is brought.” 28 U.S.C. § l44l(b).

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(Pl.’s Compl. I 26.) Plaintiff requests compensatory and punitive
damages, plus costs, with respect to each of the four counts in his
Complaint.

When a defendant seeks removal of a plaintiff’s complaint on
the basis of diversity of citizenship, the defendant bears the
burden to prove, by a preponderance of the evidence, that the
amount in controversy exceeds $75,000. Hayes v. Eguitable Energv
Res. Co., 266 F.Bd 560, 572 (6th Cir. 2001). Although a defendant
need not prove “to a legal certainty” that a plaintiff’s damages
are greater than the amount~in-controversy requirement, a defendant
must show that a fair reading of the plaintiff’s complaint reveals
that more than $75,000 is in controversy. ld; Moreover, “statutes
conferring removal jurisdiction are ... construed strictly because
removal jurisdiction encroaches on a state court's jurisdiction.”

Brierly v. Alusuisse Flexible Packagind, Inc., 184 F.3d 527, 534

 

{6th Cir. 1999) (citation omitted). See also Shamrock Oil & Gas
Corp. v. Sheets, 313 U.S. 100, 108-09 (1941). Doubts about removal

therefore “should be resolved in favor of remand to the state
courts.” Brierly, 184 F.3d at 534.

As evidence that the amount in controversy in this case is
over $75,000, Defendants point to Plaintiff’s broad, general
assertions of damages as well as the possibility that punitive
damages would be awarded. However, a review of the record shows

that the loan for which Plaintiff obtained credit insurance was for

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$8,000, and that the loan insurance premiums over which Plaintiff
has sued were approximately $8.64 per month. (See Pl.'s Mot. to
Remand, Ex. A.) Having reviewed the record and the parties’
submissions, the Court finds no basis upon which to conclude that
the amount in controversy in this case is over $75,000.

Accordingly, Plaintiff's motion to remand is GRANTED.
SO ORDERED this § § day of May, 2005.

§ mm

J P. MCCALLA
ITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:04-CV-02757 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

Bradley E. Trammell

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madisorl Ave.

Ste. 2000

l\/lemphis7 TN 38103

Clintorl J. Simpson

BAKER DONELSON BEARMAN & CALDWELL
20th Floor

165 Madisorl Avenue

l\/lemphis7 TN 38103

Clintorl C. Carter

BEASLEY ALLEN CROW l\/[ETHVIN PORTIS & MILES, PC
272 Commerce St.

P.O. Box 4 l 60

l\/lontg(lmery7 AL 36103--416

Romarl A. Shaul

BEASLEY ALLEN CROW l\/[ETHVIN PORTIS & MILES, P.C.
272 Commerce St.

l\/lontg(lmery7 AL 36104

Honorable Jon McCalla
US DISTRICT COURT

